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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL by the Oil Rig         *           MDL 2:10-MD-02179
DEEPWATER HORIZON in the                *
GULF OF MEXICO on                       *
APRIL 20, 2010                          *
                                        *           SECTION “J”
                                        *           JUDGE CARL J. BARBIER
RELATED TO                              *
                                        *           MAG. 1
This Document Relates to: 2:11-cv-01051 *
GUY J. ADAMS, ET AL.                    *
                                        *           CIVIL JURY CASE
____________________________________*


                 STATEMENT OF UNCONTESTED MATERIAL FACT
               IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

       NOW INTO COURT, through undersigned counsel, comes JMN Specialties, Inc.

(hereinafter referred to as “JMN) which submits the following Statement of Uncontested

Material Facts in support of its Motion for Summary Judgment.

   1) This matter involves a class action claim brought against multiple defendants including

       JMN Specialties, Inc. (hereinafter referred to as “JMN”) claiming damages allegedly due

       to the fact that “millions of gallons of chemical dispersants were sprayed over the Gulf of

       Mexico and coastal zones” to combat the spreading oil from the BP Oil Spill which

       commenced on or about April 20, 2010.         (See plaintiffs’ Class Action Petition for

       Damages, Doc. 1-1).

   2) Plaintiffs additionally allege that among the manufacturers of the “chemical dispersants”

       was JMN Specialties, Inc. (Id.)




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3) Three degreasers were sold to BP by JMN following the BP Oil Spill, which degreasers

   were identified as products DG-955, Aqua Clean and Cytosol. (Exhibit “A”)

4) The DG-955 and Aqua Clean are water based while the Cytosol is a vegetable oil based

   product. All of the products are non-hazardous chemicals, non-toxic, biodegradable and

   contain no EPA hazardous ingredients. (Exhibit “A”).

5) The products were used by BP and its contract service providers “to clean onshore once

   equipment was returned from use offshore.” Id.

6) The DG-955 and Aqua Clean were used onshore only and not sold for offshore use while

   the Cytosol was only used to clean the hull of boats. Id. See Exhibit “A”,

7) None of the JMN Specialties products were sold as oil dispersants.

8) The JMN products were not used as dispersants of oil following the BP Oil Spill, nor

   have they ever been used as such. See Exhibit “A”, para. 12.


                                        Respectfully submitted:

                                        BLUE WILLIAMS, L.L.P.

                                        s/JOHN C. HENRY
                                        ________________________________________
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the above and foregoing STATEMENT OF UNCONTESTED

MATERIAL FACT IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT has been

served on All Counsel by electronically uploading the same to LexisNexis File & Serve in

accordance with Pre-Trial Order No. 12, and that the foregoing was electronically filed with the

Clerk of Court of the United States District Court for the Eastern District of Louisiana by using

CM/ECF System, which will send a notice of electronic filing in accordance with the procedures

established in MDL 2179, on this 16th day of January, 2012.

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                                            JOHN C. HENRY
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                                            JOHN C. HENRY




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